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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

RHONDA PRICE-RICHARDSON                  *

                       Plaintiff         *

                 vs.                     *   CIV. ACTION NO. MJG-17-2038

DCN HOLDINGS, INC., d/b/a                *
ACCOUNTSRECEIVABLE.COM
                                         *

                       Defendant         *

*       *              *       *         *          *    *       *          *

                                   JUDGMENT ORDER

     By separate Order issued this date, the Court has dismissed all

claims made by the Plaintiff.

     Accordingly:

            1.         Judgment shall be, and hereby is, entered in
                       favor of Defendant against Plaintiff Rhonda
                       Price-Richardson dismissing all claims with
                       prejudice with costs.

            2.         This Order shal be deemed to be a final judgment
                       within the meaning of Rule 58 of the Federal
                       Rules of Civil Procedure.


     SO ORDERED, this Thursday, February 14, 2018.



                                                        /s/__________
                                                  Marvin J. Garbis
                                             United States District Judge
